Case: 5:03-cv-00494-KSF-JBT Doc #: 270-2 Filed: 09/15/06 Page: 1 of 2 - Page ID#:
                                     6847


  REPUBLIC SERVICES, INC. v. LIBERTY MUTUAL INSURANCE CO. ET AL.

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY


   APPENDIX OF EXHIBITS TO MOTION FOR PARTIAL SUMMARY JUDGMENT

   Exhibit A:     Deposition of Dan Dunne
   Exhibit B:     March 9, 200 E-Mail Message from Don Himes
   Exhibit C:     Deposition of Suzanne Flynn
   Exhibit D:     Deposition of Phillip Troskey
   Exhibit E:     E-Mail Message from Sean McSweeney to David
                  Spruance
   Exhibit F:     Affidavit of Mary Ellen Lindsey
   Exhibit G:     Sold Plans
   Exhibit H:     Stewardship Document
   Exhibit I:     Deposition of Michael Pisari
   Exhibit J:     Helmsman Agreement
   Exhibit K:     SSIs dated 10-15-98
   Exhibit L:     1999 Proposal
   Exhibit M:     1999 Binder
   Exhibit N:     SSIs dated 12-1-99
   Exhibit O:     2000 Proposal
   Exhibit P:     Deposition of David Spruance
   Exhibit Q:     Deposition of Doug McCoy, Volume I.
   Exhibit R:     Deposition of Doug McCoy, Volume II.
   Exhibit S:     Deposition of Doug McCoy, Volume IV.
   Exhibit T:     Deposition of Doug McCoy, Volume III.
   Exhibit U:     Report of Doug McCoy
   Exhibit V:     Exhibit to Report of Doug McCoy listing prior
                  testimony
   Exhibit W:     Deposition of Steven Siemers, Volume I
   Exhibit X:     Deposition of Steven Siemers, Volume II
   Exhibit Y:     Deposition of Marc Ray
   Exhibit Z:     Deposition of Steven Renner
Case: 5:03-cv-00494-KSF-JBT Doc #: 270-2 Filed: 09/15/06 Page: 2 of 2 - Page ID#:
                                     6848


   Exhibit AA: Deposition of Phillip Risley
   Exhibit BB: Deposition of Danielle Adair
   Exhibit CC: Deposition of Dara Warner
   Exhibit DD: Cumulative ‘Best Practices’
   Exhibit EE: E-mail message from Mark Sydney dated January 18,
               2001 re: ‘Best Practices’
   Exhibit FF: Deposition of P.J. Smith
   Exhibit GG: Deposition of Colleen O’Neill
   Exhibit HH: Deposition of Darleen Cook
   Exhibit II: Deposition of Cherlon Taubodo
   Exhibit JJ: Deposition of Stephen Stone
   Exhibit KK: Deposition of Deane Sprout
   Exhibit LL: Deposition of Erin Bartholomew
   Exhibit MM: Deposition of Marc Shermon
   Exhibit NN: Deposition of Gerry Abracosa
   Exhibit OO: Deposition of Michelle Garvey
   Exhibit PP: Deposition of Tom Ballard, Volume III
   Exhibit QQ: Deposition of Tom Ballard, Volume IV
   Exhibit RR: Report of David O’Brien
   Exhibit SS: Deposition of David O’Brien, Volume II
   Exhibit TT: Deposition of Derek Scott
   Exhibit UU: Deposition of Jennifer Mazer
   Exhibit VV: Deposition of Aimee Ross
   Exhibit WW: Deposition of Winifred Burton
   Exhibit XX: Deposition of Allison Chance
   Exhibit YY: Deposition of Suzanne Dunlevy
   Exhibit ZZ: Deposition of Janine Justice
   Exhibit AAA: Deposition of Theresa Kiernan
   Exhibit BBB: Deposition of Dalila Gill
   Exhibit CCC: Deposition of Denise Augustine
   Exhibit DDD: Deposition of Jane Jakab Smith
   Exhibit EEE: Deposition of Bret Pearce
   Exhibit FFF: Deposition of Marianne Truax



                                       2
